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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,
                                                         CASE NO: 2:24-cv-00134-DCR
           Plaintiff,
                                                         JUDGE:
 v.

 ST. ELIZABETH MEDICAL CENTER,                           AFFIDAVIT OF TIMOTHY GREGG
 INC.

          Defendant.

STATE OF OHIO      )
                   ) SS:
COUNTY OF HAMILTON )

      Timothy Gregg, having been first duly sworn under oath, hereby states the following:

      1. My name is Timothy Gregg. I am an adult male citizen of the United States and currently
         reside in Cincinnati, Ohio.

      2. I am over the age of 18 and am competent to testify as to all matters described herein.

      3. I have read the foregoing Verified Complaint.

      4. I am well acquainted with the facts as set forth in the Verified Complaint and the facts
         stated therein are true to the best of my personal knowledge.

FURTHER AFFIANT SAYETH NAUGHT.

                                                    ��_,          ____
                                                      4'imothy Gregg



The foregoing instrument was sworn, subscribed to, and ackno
this K day of August 2024.


                                                       No
                                                                               �Slleidenllln8'1kar,.,.,N.I.Aw
My Commission Expires:                                                       !  NOTMY �·$WE Of OHIO
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                                                                             i             Sec. 147,t., R.C.

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